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FILED

FEB 05 2019
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District and
Bankruptcy Courts
UNITED STATES OF AMERICA ) CRIMINAL NO. 08-057-7 (TNM)
)
Vv. )
)
MARIO RAMIREZ TREVINO, )
also known as “Mario Pelon” )
and “X-20” )
)
Defendant. )
STATEMENT OF FACTS

 

Were this case to proceed to trial, the United States of America would prove the
following facts at trial beyond a reasonable doubt:

1. This proffer of evidence is not intended to constitute a complete statement of all
facts known by Defendant MARIO RAMIREZ TREVINO (hereinafter, “Defendant’”), but is a
minimum statement of facts intended to provide the necessary factual predicate for the guilty
plea and his sentencing. The limited purpose of this proffer is to demonstrate that there exists a
sufficient legal basis for Defendant’s plea of guilty to the charged offense, which carries a
mandatory statutory minimum sentence. The Government submits that had there been a trial in
this matter, the Government would have proven each of the facts as outlined beyond a reasonable
doubt, and further that the facts satisfy each of the essential elements of the charges, as well as
the amount and type of drugs involved, to which the Defendant is entering his plea.

2. Beginning in or about February 2000, and continuing until the date of his arrest,
August 17, 2013, in Mexico and elsewhere, the Defendant was a member of a conspiracy, the
object of which was to manufacture and distribute five kilograms or more of cocaine and one

thousand (1,000) kilograms or more of marijuana, intending and knowing that such substances
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would be unlawfully imported into the United States, in violation of Title 21, United States
Code, Sections 959, 960, 963 and Title 18, United States Code, Section 2.

3, During the time period alleged in the Fourth Superseding Indictment, the
Defendant admits that he was an active member of the “Cartel Del Golfo” (hereinafter “Gulf
Cartel”) who together with “Los Zetas” operated under the name “The Company” (hereinafter
“The Company”). The Gulf Cartel is a violent Mexican criminal organization engaged in the
manufacture, distribution and importation of large quantities of cocaine and marijuana into the
United States, among other illegal activities. The Gulf Cartel recruited and employed an elite
group of former Mexican military officers as security and enforcers, who became known as Los
Zetas.

4, The Company controlled hundreds of miles of Mexican territory along the border
of Mexico and the United States. The Company divided its territory into areas known as
“plazas” and assigned a leader, known as a “plaza boss.” The Company transported large
cocaine shipments via boats, planes, and motor vehicles from Colombia and Venezuela to
Central America, and then to various plazas in Mexico. The Company also transported large
quantities of marijuana grown in Mexico to plazas using motor vehicles. The Company then
transported the shipments of cocaine and marijuana from Mexico to the United States for
distribution.

3. In total, The Company acquired, transported, distributed and ultimately imported
into the United States more than 450 kilograms of cocaine and more than 90,000 kilograms of
marijuana during the time period charged in the Fourth Superseding Indictment.

6. Specifically, Defendant affirms the accuracy of the following facts:
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a. Prior to the year 1998, Defendant served as a Tamaulipas State Police officer in
Tamaulipas, Mexico. As a police officer, Defendant became acquainted with numerous other
state and local police officers who later became members of The Company including Jorge
Eduardo Costilla Sanchez, also known as “El Cos,” and Gregorio Sauceda Gamboa, also known
as “Goyo.”

b. In approximately 2000, Sauceda Gamboa recruited Defendant, who was no longer
employed with the Tamaulipas State Police, to work as a security guard for The Company in
Reynosa, Mexico. At the time, Sauceda Gamboa was the plaza boss in Reynosa responsible for
coordinating the transportation and distribution of cocaine and marijuana for ultimate
distribution into the United States.

c. In addition to providing security for Sauceda Gamboa in Reynosa, Defendant
routinely received, transported and distributed cocaine and marijuana on behalf of The Company.
Over time, Defendant became increasingly involved in the drug trafficking side of The Company
and had direct responsibility for numerous drug shipments of cocaine and marijuana sent to the
United States. Specifically, Defendant’s strategic location in Reynosa, which shares an
international border with McAllen, Texas, allowed Defendant to distribute cocaine and
marijuana to another criminal group on the border called “Los Piojos.” Los Piojos was
responsible for crossing the drugs into the United States and the repatriation of bulk United
States currency to Mexico. Defendant frequently received bulk United States currency, from Los
Piojos in amounts up to two million dollars at a time.

d. In approximately 2006, Defendant began working directly under Costilla Sanchez
who was the leader of The Company. Defendant continued to receive, transport and distribute

large quantities of cocaine and marijuana for ultimate distribution in United States. Under
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Costilla Sanchez, Defendant rose to become a high ranking leader in The Company who
coordinated drugs shipments, oversaw drug couriers, security personnel, scouts and others to
facilitate The Company’s drug trafficking operations, which involved managing, directing and
supervising more than five members of the conspiracy. In early 2013, the Defendant ascended to
become the leader of the Gulf Cartel until his arrest in August 2013.

e. Defendant admits that during the course of his involvement in the conspiracy, law
enforcement in Mexico and Panama seized ton quantities of cocaine that were intended for the
Defendant and other members of The Company to distribute in Mexico and the United States.

f. In the performance of his duties for The Company, Defendant possessed and used
dangerous weapons, including firearms in furtherance of The Company’s drug trafficking
activities.

g. Defendant, along with other members of The Company, organized, directed, and
carried out numerous acts of violence against rival drug trafficking groups, Mexican law
enforcement and others who The Company perceived as threats to their drug trafficking
activities. Defendant is personally responsible for ordering or carrying out several murders.

h. Defendant admits that the total amount of controlled substances involved in this
conspiracy that is directly accountable to him was more than 450 kilograms of cocaine and more
than 90,000 kilograms of marijuana.

i. Defendant admits that he knew the cocaine and marijuana would be illegally
imported into the United States for further distribution.

7. This proffer does not purport to include all of Defendant’s illegal conduct during
the course of his charged offense. It represents sufficient information for the Court to find a

factual basis for accepting Defendant’s guilty plea in the above-captioned matter and is not
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intended to represent all of Defendant’s relevant conduct for sentencing purposes. The limited
purpose of this proffer is to demonstrate that there exists a sufficient legal basis for the
Defendant’s plea of guilty to the charged offense. Had there been a trial in this matter, the
Government would have proven each of these facts beyond and to the exclusion of every
reasonable doubt. The parties agree that the above-outlined facts satisfy each of the essential
elements of the charge to which the Defendant is entering his plea. The Defendant
acknowledges that there are additional details about his involvement in the drug trafficking
conspiracy that are not included in this statement.

8. The Defendant agrees venue and jurisdiction pursuant to 18 U.S.C. § 3238 lie
with this Court.

9. The Defendant also agrees that his participation as a conspirator in the above-
described acts was in all respects knowing, intentional, and willful, reflecting an intention and
deliberation to do something the law forbids, and were not in any way the product of any
accident, mistake of law or fact, duress, entrapment, or public authority.

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10. The Defendant is pleading guilty because the Defendant is in fact guilty.

ARTHUR G. WYATT, CHIEF
United States Department of Justice
Narcotic and Dangerous Drug Section

Date: 2/4/14 By: JL fE-A#.

Cole Radovich
Trial Attorney
Approved by:

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Date: af4(19 By: eoftiie dl Pe aig
Michael Lang q ()

Acting Deputy Chie
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DEFENDANT’S ACKNOWLEDGMENT

I have reviewed this factual proffer with the assistance of an English-Spanish interpreter,
and have discussed it at length with my attorney, Robert Feitel, Esq., who speaks fluent Spanish.
This factual proffer has been translated into Spanish for me. I understand that the English
version controls. I fully understand this factual proffer and agree to it without reservation. I do
this voluntarily and of my own free will, intending to be legally bound. No threats have been
made to me, nor am I under the influence of anything that could impede my ability to understand
this factual proffer fully.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in the accompanying Plea Agreement. I am satisfied with the legal services provided by my
attorney in connection with this factual proffer and Plea Agreement and matters related to it.

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Mario Ramirez Trevino Date
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I am the Defendant’s attorney. I have carefully reviewed every part of this factual proffer
in Spanish.

 
 

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Robert Feitel Date
Attorney for Defendant

 
